                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA


v.                                                                          No. 3:22-CR-14
                                                                            Varlan/McCook

DAVID HENDERSON


                        MEMORANDUM OF LAW IN SUPPORT OF
                        MOTION TO DISMISS THE INDICTMENT


I. Introduction

       This Memorandum of Law is filed in support of David Henderson’s Motion to Dismiss

the Indictment for failure to state an offense. Mr. Henderson is charged with a conspiracy to

commit theft of federal program funds in violation of 18 U.S.C. §§ 666(a)(1)(A) and 371. The

Indictment, however, fails to include a necessary legal element, and thus fails to state an offense.

The Indictment in this case is twenty-one pages long and includes a litany of allegations against

Mr. Henderson. The sole count of the Indictment alleges as follows:

               Between in or around 2011, and continuing uninterrupted to in or
               about September, 2018, in the Eastern District of Tennessee and
               elsewhere, the defendant, DAVID HENDERSON, together with
               other unindicted co-conspirators, did knowingly, intentionally, and
               unlawfully combine, conspire, confederate, and agree with each
               other to commit an offense against the United States—that is, the
               theft of federal program funds under 18 U.S.C. § 666(a)(1)(A)--in
               violation of 18 U.S.C. § 371.

(ECF 3, PageID# 5). Because the Indictment fails to allege the essential element that property

valued at $5,000.00 or more was stolen or otherwise misappropriated in any one year period, it

must be dismissed.




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II. Law and Argument

       The Fifth Amendment to the United States Constitution states that “[n]o person shall be

held to answer for a capital, or otherwise infamous crime, unless on a presentment or indictment

by a grand jury[.]” Similarly, the Sixth Amendment to the United States Constitution provides

that ““[i]n all criminal prosecutions, the accused shall enjoy the right . . . to be informed of the

nature and the cause of the accusations.” Federal Rule of Criminal Procedure 7(c)(1), consistent

with these constitutional principles, states that an “indictment or information must be a plain,

concise, and definite written statement of the essential facts constituting the offense charged.”

The United States Supreme Court has held that an indictment complies with all of these

requirements if it (1) “contains the elements of the offense charged,” (2) “fairly informs a

defendant of the charge against which he must defend” and (3) “enables him to plead an acquittal

or conviction in bar of future prosecutions for the same offense.” Hamling v. United States, 418

U.S. 87, 117 (1974).

       In general, an indictment is deemed sufficient “if it states the offense using the words of

the statute itself, as long as the statute fully and unambiguously states all the elements of the

offense.” United States v. Middleton, 246 F.3d 825, 841 (6th Cir. 2001) (quoting United States v.

Monus, 128 F.3d 376, 388 (6th Cir.1997)). A motion to dismiss for failure to state an offense

requires the court to “simply look to the facts alleged and determine whether those facts, if

proved would establish prima facie, the defendant’s commission of the crime.” United States v.

Collins, 2017 WL 9538521 at *3 (W.D. Tenn. May 18, 2017) (citations omitted).

       The essential elements of a conspiracy under 18 U.S.C. §371 are: (1) that the conspiracy

described in the indictment was willfully formed, and was existing at or about the time alleged;

(2) that the accused willfully became a member of the conspiracy; (3) that one of the conspirators




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thereafter knowingly committed at least one of the overt acts charged in the indictment, at or

about the time and place alleged; and (4) that such overt act was knowingly done in furtherance

of some object or purpose of the conspiracy as charged. U.S. v. Sturmam, 951 F.2d 1466, 1474

(6th Cir. 1991) (quoting U.S. v. Meyers, 646 F.2d 1142, 1143-44 (6th Cir. 1981)). In order to

sustain a conviction under 18 U.S.C. § 666(a)(1)(A), the government must prove: (1) that the

defendant was an agent of a state, local, or tribal government or agency; (2) the defendant

embezzled, stole, fraudulently obtained or without authority knowingly converted property worth

at least $5,000.00 or more which was under the control, care or supervision of the government or

agency; and (3) the government or agency received in excess of $10,000.00 in federal funds in

any one year period. U.S. v. Valentine, 63 F.3d 459, 462 (1995).

       In United States v. Valentine, 63 F.3d 459 (6th Cir. 1995), the Sixth Circuit Court of

Appeals addressed “whether § 666(a)(1)(A)(i) of the statute criminalizes multiple conversions of

less than $5,000, if more than one year is needed to reach the $5,000 statutory minimum. Id. at

462. In Valentine, like here, the indictment did not separate incidents of theft by the year in

which they occurred. Id. at 463. The Court concluded that, in addition to the monetary

threshold, subsection (b) included the temporal limitation that the agency must receive benefits

greater than $10,000.00 in any one year. Id. The term “any one year period” is defined as “a

continuous period that commences no earlier than twelve months before the commission of the

offense or that ends no later than twelve months after the commission of the offense. 18 U.S.C.

§ 666(d)(5). The Court held that “[t]he interrelationship between subsections (a) and (b) of the

statute mandate that a one-year limitation likewise attaches to the $5,000 threshold requirement.”

Valentine, 63 F.3d at 463.

        In the instant case, the relevant parts of the Indictment alleges the following:




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               From in or around 2011 and continuing uninterrupted to in or
               around September 2018, DAVID HENDERSON was the Chief of
               the KCSO Narcotics Unit (“Narcotics Unit”). (ECF 3. Page ID 3,
               ¶ 5).

               At all time relevant to this Indictment, DAVID HENDERSON had
               supervisory authority over all KCSO officers who worked in the
               Narcotics Unit. Id. at ¶ 6.

               Between in or around 2011, and continuing uninterrupted to in or
               about September, 2018, in the Eastern District of Tennessee and
               elsewhere, the defendant, DAVID HENDERSON, together with
               other unindicted co-conspirators, did knowingly, intentionally, and
               unlawfully combine, conspire, confederate, and agree with each
               other to commit an offense against the United States—that is, the
               theft of federal program funds under 18 U.S.C. § 666(a)(1)(A)--in
               violation of 18 U.S.C. § 371. (ECF 3, PageID# 5).

               At all times material to this Indictment, as an agency of the Knox
               County government, the KCSO received more than $10,000 per
               year in federal grant funds. (ECF 3. Page ID 3, ¶ 4).

In 21 pages, the Indictment fails to allege that property worth at least $5,000.00 or more was

taken during a specific one year period. The conduct in the Indictment, as alleged, fails to state

an offense.

       The legislative history shows that Congress enacted § 666 “to protect the integrity of the

vast sums of money distributed through Federal programs from theft, fraud, and undue influence

by bribery.” United States v. Keen, 676 F.3d 981, 990 (11th Cir.2012) (quoting S.Rep. No. 98–

225, at 370 (1983), as reprinted in 1984 U.S.C.C.A.N. 3182, 3511). “Congress recognized that

the statute constituted a significant intrusion of federal law enforcement into traditional areas of

local concern; thus, it made the new statute applicable only to crimes involving substantial sums

of money.” U.S. v. Webb, 691 F.Supp 1164, 1168 (N.D.IL Aug. 3, 1988). Theft or

misappropriation of smaller amounts of money were meant to remain within the jurisdiction of

the States. Congress clearly and unambiguously limited federal jurisdiction by including both




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temporal and financial limitations to the statute. U.S. v. Valentine, 63 F.3d at 463. By including

these limitations, Congress intended that only the most serious instances of governmental

corruption should be covered by this statute. U.S. v. Mills, 140 F.3d 630, 632 (6th Cir. 1998).

       The Indictment in this case fails to allege any dates that would establish a one year period

in which $5,000.00 or more worth of property was stolen or otherwise taken without authority.

The Indictment fails to allege that $5,000.00 or more worth of property was ever stolen, or

otherwise taken without authority, in a one year period. Accordingly, the government has not

given adequate notice to Mr. Henderson as to the charges he must defend against. Because the

Indictment fails to allege essential elements, i.e. temporal and financial elements, Mr. Henderson

would be unable to make double jeopardy arguments should he be tried for the same offense in

the future.

III. Conclusion

       For the foregoing reasons, the Indictment should be dismissed because it fails to allege an

essential element of the offense.

        Respectfully submitted on April 29, 2022.

                                                            s/ Robert R. Kurtz
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